               THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                       WESTERN DIVISION
                     CASE NO. 5:20-CV-441-M

NEW HORIZON GROUP HOME, LLC,          )
                                      )
           Plaintiff,                 )
                                      )
      v.                              )
                                      )             DEFENDANT’S
NORTH CAROLINA DEPARTMENT             )           MOTION TO DISMISS
OF HEALTH AND HUMAN                   )
SERVICES, DIVISION OF HEALTH          )
SERVICE REGULATION,                   )
                                      )
           Defendant.                 )
_____________________________________ )

      Defendant the North Carolina Department of Health and Human

Services, Division of Health Service Regulation, by and through its

undersigned counsel, pursuant to Rules 12(b)(1), 12(b)(2), and 12(b)(6) of the

Federal Rules of Civil Procedure, and based upon the doctrine of sovereign

immunity, move to dismiss all claims of New Horizon Group Home, LLC, for

lack of subject matter jurisdiction, lack of personal jurisdiction, and failure to

state a claim upon which relief can be granted.

      Pursuant to Local Rule 7.1(e), a Memorandum of Law in Support of the

Motion to Dismiss is being filed contemporaneously herewith.




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Respectfully submitted this the 1st day of October, 2020.


                                    JOSHUA H. STEIN
                                    Attorney General


                                    /s/ Derek L. Hunter
                                    Derek L. Hunter
                                    Assistant Attorney General
                                    N.C. State Bar No. 36835
                                    N.C. Department of Justice
                                    Post Office Box 629
                                    Raleigh, North Carolina 27602-0629
                                    (919) 716-6886
                                    (919) 716-6756 (Fax)
                                    dhunter@ncdoj.gov


                                    /s/ Eric R. Hunt
                                    Eric R. Hunt
                                    Assistant Attorney General
                                    N.C. State Bar No. 53032
                                    N.C. Department of Justice
                                    Post Office Box 629
                                    Raleigh, North Carolina 27602-0629
                                    (919) 716-6885
                                    (919) 716-6756 (Fax)
                                    ehunt@ncdoj.gov

                                    Counsel for North Carolina
                                    Department of Health and Human
                                    Services, Division of Health Service
                                    Regulation




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                      CERTIFICATE OF SERVICE
     It is hereby certified that the foregoing DEFENDANT’S MOTION TO
DISMISS was electronically filed with the Court using the CM/ECF system
and was thereby served upon all parties and counsel of record as follows:

     Kieran J. Shanahan, Esquire
     Brandon S. Neuman, Esquire
     Andrew D. Brown, Esquire
     SHANAHAN LAW GROUP, PLLC
     128 East Hargett Street, Suite 300
     Raleigh, North Carolina 27601
     Counsel for New Horizon Group Home, LLC

     This the 1st day of October, 2020.


                                          /s/ Derek L. Hunter
                                          Derek L. Hunter
                                          Assistant Attorney General




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